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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
JOHN DOE,                                                                :
                                                                         :
                                         Plaintiff,                      :
                                                                         :
                          v.                                             :   Case No. 24-CV-07778 (JLR)
                                                                         :
SEAN COMBS, DADDY’S HOUSE                                                :   ORAL ARGUMENT REQUESTED
RECORDINGS INC., CE OPCO, LLC d/b/a                                      :
COMBS GLOBAL f/k/a COMBS ENTERPRISES :
LLC, BAD BOY ENTERTAINMENT HOLDINGS, :                                       NOTICE OF MOTION
INC., BAD BOY PRODUCTIONS HOLDINGS,                                      :
INC., BAD BOY BOOKS HOLDINGS, INC., BAD :
BOY RECORDS LLC, BAD BOY                                                 :
ENTERTAINMENT LLC, BAD BOY                                               :
PRODUCTIONS LLC, and ORGANIZATIONAL :
DOES 1-10,

                                         Defendants.
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x


          PLEASE TAKE NOTICE that upon the accompanying memorandum of law,

Declaration of Mark Cuccaro, dated February 11, 2025, the exhibits annexed thereto, and

upon all prior proceedings had in herein, Defendants Sean Combs, Daddy’s House Recordings

Inc., CE OpCo, LLC d/b/a Combs Global f/k/a Combs Enterprises, LLC, Bad Boy

Entertainment Holdings, Inc., Bad Boy Productions Holdings, Inc., Bad Boy Books Holdings,

Inc., Bad Boy Entertainment LLC, and Bad Boy Productions LLC (the “Combs Defendants”)

will move this Court, in accordance with Fed. R. Civ. P. 12(b)(6), before the Honorable

Jennifer L. Rochon at the Daniel Patrick Moynihan United States Courthouse, Courtroom

20B, 500 Pearl Street, New York, New York 10007, for an order dismissing Plaintiff’s

Complaint against the Combs Defendants with prejudice (ECF No. 1).
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Dated: February 11, 2025
       New York, New York

                                     Respectfully submitted,

                                     SHER TREMONTE LLP

                               By:   /s/ Mark Cuccaro
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                                     Michael Tremonte
                                     Erica Wolff
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                                     Attorneys for Combs Defendants
